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 4
                                   UNITED STATES DISTRICT COURT
 5
                                           DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                 )
 8                                             )
                       Plaintiff,              )                    Case No. 2:17-cr-00042-APG-CWH
 9                                             )
     vs.                                       )                    REPORT & RECOMMENDATION
10                                             )
     EDWIN ARNOLD, JR.,                        )
11                                             )
                       Defendant.              )
12   __________________________________________)
13          Presently before the court is Defendant Edwin Arnold’s Motion to Suppress (ECF No. 38),
14   filed on May 8, 2017. The government filed a response (ECF No. 42) on May 22, 2017. Defendant
15   filed a reply (ECF No. 45) on May 30, 2017.
16          Defendant moves to suppress statements he made to law enforcement officers on January
17   26, 2017, arguing that he did not receive a constitutionally-adequate Miranda warning in violation
18   of his Fifth and Sixth Amendment rights. The government responds that the motion should be
19   denied as moot because it does not intend to introduce in its case-in-chief at trial the statements at
20   issue or any evidence derived from those statements. Defendant replies that notwithstanding the
21   government’s representation that it will not use the statements at issue, Defendant seeks an order
22   finding that the interrogation violated his constitutional rights.
23          Having reviewed and considered the parties’ arguments, the court finds that the motion is
24   moot given the government’s representation that it will not introduce the statements at issue in its
25   case-in-chief at trial. If the government attempts to introduce the statements at trial, Defendant may
26   move to exclude the statements at that time.
27          IT IS THEREFORE RECOMMENDED that Defendant Edwin Arnold’s Motion to
28   Suppress (ECF No. 38) be DENIED as moot.
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 1                                                 NOTICE
 2            This report and recommendation is submitted to the United States district judge assigned to
 3   this case under 28 U.S.C. § 636(b)(1). A party who objects to this report and recommendation may
 4   file a written objection supported by points and authorities within fourteen days of being served
 5   with this report and recommendation. Local Rule IB 3-2(a). Failure to file a timely objection may
 6   waive the right to appeal the district court’s order. Martinez v. Ylst, 951 F.2d 1153, 1157 (9th Cir.
 7   1991).
 8
 9            DATED: June 5, 2017
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11                                                 ______________________________________
                                                   C.W. Hoffman, Jr.
12                                                 United States Magistrate Judge
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